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Case 2:19-cr-00137-WFN ECF No. 1

filed 09/04/19 PagelD.1 Page 1of3

FILED IN THE
US. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
STATES OF AMERICA,
UNITED S© 2:19-CR-137-WFN
Plaintiff, INDICTMENT
V. Vio: 18U.S.C. § 641
Theft of Government Property
KARY GLEN JOHANSSON, (Over $1,000)
Defendant. 18 U.S.C. § 981(a)(1)(C) and 28
ULS.C. § 2461(c)
Forfeiture Allegations
The Grand Jury charges:
Beginning on or about October 2013 and continuing until on or about
November 2018, in the Eastern District of Washington and elsewehere, the Defendant,

KARY GLEN JOHANSSON, willfully and knowingly did steal, purloin, or convert to

his own use, goods or property of the United States of a value exceeding $1,000, to-
wit: SSA benefits intended for B.J., in violation of 18 U.S.C. § 641.

NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

The allegations contained in this Indictment are hereby re-alleged and

incorporated herein by this reference for the purpose of alleging forfeitures.

INDICTMENT - 1
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Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction
of the offense, Theft of Government Property (Over $1,000), in violation of 18 U.S.C.
§ 641, as alleged in this Indictment, the Defendant, KARY GLEN JOHANSSON,
shall forfeit to the United States any property, real or personal, which constitutes or is
derived from proceeds traceable to the offense(s), all pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c). The property sought for forfeiture includes,
but is not limited to, the following:

REAL PROPERTY

The real property being forfeited is commonly known as 2328 East Gordon
Avenue, Spokane, Washington, described as follows:

All that lot or parcel of land, together with its buildings, appurtenances,

improvements, fixtures, attachments and easements, known as 2328 East

Gordon Avenue, Spokane, Washington, legally described as follows:

Lot 19 in Block 2 of the First Addition to HAY’S PARK as per Plat thereof

recorded in Volume “E” of Plats, Page 1;

Situate in the City of Spokane, County of Spokane, State of Washington

Parcel Number: 35044.0426

MONEY JUDGMENT

A sum of money equal to $48,897.00 in United States currency,
representing the amount of proceeds obtained from the theft of
government funds violation.

 

If any of the property described above, as the result of any act or omission of
Defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

INDICTMENT - 2
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(e) has been commingled with other property which cannot be divided
without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to 21
U.S.C. § 853(p), as incorporated by 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
2461(c).

DATED this 4 day of September, 2019

A TRUE BILL

 

William D. Hyslop /
United States Attorne

Timothy J.
Assistant United States Attorney

INDICTMENT - 3
